      Case 3:12-cv-00223-MWB Document 175 Filed 11/03/21 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THOMAS MOORE,                                   No. 3:12-CV-00223

             Plaintiff,                         (Chief Judge Brann)
      v.

KENNY GRANLUND, et al.,

            Defendants.

                                   ORDER

      AND NOW, this 3rd day of November 2021, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that the

Defendants’ motion in limine (Doc. 166) is GRANTED, subject to the conditions

detailed in the Memorandum Opinion.

                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          Chief United States District Judge
